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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

AARON ROSS, Case No.

Plaintiff, COMPLAINT
- against -
UNIVERSAL HEALTH SERVICES, INC., PROVO
CANYON SCHOOL, JUSTIN UALE, WENDY
TURNBOW and LORNA HALL,

Defendants.

Plaintiff, Aaron Ross, by his attorneys, The Law Offices of
Daniel W. Isaacs, PLLC, and Peter J. Gleason, P.C., complaining
of the defendants, Universal Health Services, Ine., Prove Canyon
School, Justin Uale, Wendy Turnbow and Lorna Hall, alleges as

follows:

 
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NATURE OF THE ACTION

1. This action arises from the continuous and unrelenting

physical, emotional and psychological torture, sexual abuse,

forced seclusion and drug-induced sedation endured by the

plaintiff, Aaron Ross, while a student at the Provo Canyon School

between May of 2001 and April of 2003.

2. School administrators and staff, acting under color of

state law, caused the Plaintiff to suffer and be subjected to,

inter alia, cruel and unusual punishment, antitherapeutic and

inhumane treatment, denial of due process of law and violation of

his right to free speech.

Bee As set forth below, Defendants’ conduct violated

Plaintiff's rights guaranteed under the First and Fourteenth

Amendments to the United States Constitution and constituted

assault, battery, false imprisonment, intentional infliction of

emotional distress, loss of parental consortium, negligence and

civil conspiracy in violation of New York State Law.

4. That as a direct result of Defendants’ violation of

Plaintiff’s constitutional rights and their unlawful conduct he

was caused to suffer serious damage and injury including, inter

alia, monetary damages, physical and psychological injury and

trauma, extreme emotional distress and, post-traumatic stress

disorder.

 
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5. This action is therefore brought pursuant to the New
York Child Victims Act 2019 Sess. Law News of N.Y. Ch. 11 (S.
2440), CPLR 214-G, and 22 CRR 202.72 seeking damages pursuant to
42 U.S.C. Section 1983 to redress the violation of Plaintiff's
constitutional rights to freedom of speech under the First
Amendment and due process under the Fourteenth Amendments to the
United States Constitution. Plaintiff also asserts derivative
causes of action for assault, battery, false imprisonment,
intentional infliction of emotional distress, loss of parental
consortium, negligence and civil conspiracy pursuant to New York
state Law.

JURISDICTION

6. This Court has jurisdiction over this action pursuant to
28 U.S.C. Sections 1331 (federal question jurisdiction) and
1343(a) (civil rights jurisdiction) because this action is filed
to obtain relief for the deprivation of the rights of a citizen
of the United States secured by the United States Constitution

and federal law pursuant to 42 U.S.C. Section 1983.

VENUE

 

7. As Plaintiff is a resident of the County of Kings, City
and State of New York, venue is proper in this District pursuant

to 28 U.S.C. Section 1391 (b) (1).
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THE PARTIES

8. That at all times hereinafter mentioned the plaintiff,
Aaron Ross (“Ross”), is a resident of the County of Kings, City
and State of New York and was so at the time of the sexual and
other abuse alleged herein. Ross is a male, born on October 28,
1987, and was a minor during the entire time of the sexual
misconduct alleged herein.

o. That defendant Universal Health Services, Inc.
(“Universal”), located in King of Prussia, Pennsylvania, is one
of the United States’ largest provider of hospital and healthcare
services operating, inter alia, 334 behavioral health inpatient
and 39 outpatient facilities, with $11.37 billion in annual
revenue in 2019.

LO, That defendant Provo Canyon School (“Provo”) is an
intensive psychiatric youth residential treatment facility
located in the State of Utah that was founded in 1971.

1. That in August of 2000 defendant Universal purchased
defendant Provo.

12 That at all times hereinafter mentioned defendant
Universal operated defendant Provo.

LS 2 That at all times hereinafter mentioned defendant
Universal managed defendant Provo.

14, That at all times hereinafter mentioned defendant

Universal maintained defendant Provo.
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15. That at all times hereinafter mentioned defendant

Universal controlled defendant Provo.

16. That at all times hereinafter mentioned defendant

Justin Uale (“Uale”) was and is an adult male individual. During
the period of time in which the childhood sexual harassment and
abuse of Plaintiff Aaron Ross, as alleged herein, took place,
Uale was a staff member and/or counselor who supervised the day
and on occasion night shift and was employed by both Universal
and Provo. That at all times hereinafter mentioned Uale was an
employee, agent and/or servant of defendants Universal and Provo
and was under their complete control and/or active supervision.

17. That at all times hereinafter mentioned the defendant
Wendy Turnbow (“Turnbow”), was plaintiff Aaron Ross’ therapist at
Provo and was employed by both Universal and Provo. That at all
times hereinafter mentioned Turnbow was an employee, agent and/or
servant of defendants Universal and Provo and was under their
complete control and/or active supervision.

18. That at all times hereinafter mentioned the defendant
Lorna Hall (“Hall”), was a supervising staff member and employed
by both Universal and Provo. That at all times hereinafter
mentioned Hall was an employee, agent and/or servant of
defendants Universal and Provo and was under their complete

control and/or active supervision.
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BACKGROUND
“Troubled Teen” Industry

19. Every year thousands of children from every state in

the Union are sent against their will - often handcuffed in the
middle of the night by armed strangers (known as “Transporters”)
- to private facilities to purportedly be treated for behavioral
problems, mental illness and addiction issues.

20 Due to inconsistencies in the definition of what a
therapeutic boarding school is and a lack of regulatory
oversight, the exact numbers of student/residents and centers are
not known but it is estimated that there are over 50,000 children
kept in approximately 1,500 treatment centers around the United
States, collectively known as the “Troubled Teen Industry.”

2 vs Labeled as “boot camps,” “behavior modification
facilities,” “wilderness therapy” and “gay conversion therapy,”
and selling themselves to parents, therapists and state and
Judicial agencies as providing therapeutic treatment, these
programs instead dispense a myriad of maltreatment including
physical, verbal and sexual abuse, chemical sedation and
isolation, vigorous labor, the use of physical restraints, food
and sleep deprivation and humiliation, amongst others, some of
which the Geneva Convention banned as being too extreme for

prisoners of war.
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22. This abuse is compounded by their function as “total
institutions,” whereby the students live under the singular
administrative authority of the school, have limited contact with
the outside world and are not routinely allowed to leave school

property, residing there from several weeks to several years.

23. This institutional life is constructed around strict
schedules, extensive rules and the reward/withholding of
privileges. Students are constantly under surveillance by staff

as well as fellow students, all of whom are required to report
any breach of the rules, facing punishment themselves for failing
to do so. Rules and regulations can be so extensive that it may
be difficult to avoid breaking them, especially as some rules can
be arbitrary and inconsistently applied depending on
interpersonal staff-student dynamics.

24. The origins of the Troubled Teen Industry can be traced
back decades, to an organization called Synanon that ostensibly
started as a substance abuse program in 1958. It was founded by
a former alcoholic, Charles Dederich, who claimed to be inspired
by Alcoholics Anonymous and wanted to treat addicts.

25 . Dederich allegedly coined the maxim. “Today is the
first day of the rest of your life,” and envisioned Synanon as
the start of a new utopian society - and he was soon well on his

way, as the group grew popular (some likened it to a cult) and

started building their own schools and businesses.
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26. But, the program used various problematic tactics, such
as humiliation, isolation, sleep deprivation, and manual labor
and was discredited in the late 1970s and 1980s as its violent
record was exposed. It is now remembered for an incident in
which a member placed a lived rattlesnake - rattle removed - in
the mailbox of a lawyer who'd successfully sued it.

27. By the time it officially shut down, in 1991, its model

had already been widely copied, with dozens of lucrative

behavioral therapy programs for troubled youth - charging
thousands of dollars a month - emanating from its treatment
philosophy.

28s Due to long-standing and ever-increasing concerns

regarding abuse and death in certain programs for troubled youth
and, following publicity surrounding the book “Help at any Cost:
How the Troubled-Teen Industry Cons Parents and Hurts Kids,”
published in February of 2006, the United States Government
Accountability Office (“GAO”) issued the first in a series of
reports, beginning in October of 2007. This was followed by a
report in April of 2008 addressing selected cases of death, abuse
and deceptive marketing at these facilities and a third report in
May of 2009 regarding these facilities’ use of seclusion and

restraints and associated deaths due to, and the abuse of same.
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Provo Canyon School

29. Utah is the epicenter of the “troubled teen” industry,
with nearly 100 youth residential treatment centers, more than
any other state, contributing nearly One-Half Billion Dollars a
year to its economy.

30. Considered to be among Utah’s “worst of the worst” of
these troubled institutions is defendant Provo, one of the
State’s largest and oldest facilities. Founded in 1971 in the
shadow of Brigham Young University, the premiere educational
institution of The Church of Jesus Christ of Latter-day Saints,
it currently has approximately 300 male and female residents at
two campuses.

S11. Although privately owned and operated, it receives
funds from both state governments and the United States. It was
established for the primary purpose of educating teenage boys
whose problems were so severe that their treatment and education
required a restricted, therapeutic environment.

32. Operating therefore not only as a school but as a
correctional, detention and mental health facility as well, Provo

has been accused of abuse since its inception and the subject of

a series of individual and class-action lawsuits throughout the

1980s and 1990s. These lawsuits alleged everything from verbal,

physical and sexual abuse to the punitive use of solitary

confinement and a tactic called “the hair dance,” in which teens
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were dragged around by their hair, to medical negligence, the
violation of student’s First Amendment rights and invasion of
privacy, to false imprisonment and battery, intentional
infliction of emotional distress, civil conspiracy and lose of
parental consortium.

33. In the case of Milonas v. Williams, 648 F.2d 688 (10th
Cir. 1981), a class action brought against Provo in 1980, the
Court found that Provo was a state actor for the purposes of
Section 1983 and issued a preliminary injunction that enjoined
four “behavior-modification” practices then in effect at the
school: (i) opening, reading, monitoring or censoring students’
mail; (ii) administering polygraph examinations for any purpose
whatsoever; (iii) placing students in isolation facilities for
any reason other than to contain a student who was physically
violent; and (iv) using physical force for any purpose other than
to restrain a juvenile who is either physically violent and
immediately dangerous to himself or others, or physically
resisting institutional rules.

34. In 1986 Charter Behavioral Health Systems, Inc.

(“Charter”), once the laraest operator of psychiatric hospitals

and treatment centers in the United States, bought the original
Provo Campus. It operated Provo for the next fourteen years.

35. In 1999, media personality Paris Hilton spent eleven

months as a Provo student when she was seventeen-years old.

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Around this same time Charter was facing Medicaid fraud
allegations - subsequently paying a Seven Million ($7,000,000.00)

Dollar fine without admitting guilt - amid media reports of

inappropriate treatment and inadequate care at Charter-owned
facilities across the country, culminating in its filing for
bankruptcy in 2000.

5G In August of 2000 Charter sold a dozen properties -
including Provo — to defendant Universal.

Sus Despite the change in ownership the abuse and
mistreatment at Provo continued unabated during the decades that
followed, with multiple former students coming forward with
stories of, inter alia, being overmedicated, restrained and
punished for minor infractions.

38. Utah’s Office of Licensing, which regulates the state’s
youth residential treatment centers, placed Provo’s license on
“conditional status” in 2012 (after staff did not properly watch
students and a boy ran away, subsequently causing a fatal car
accident), 2013 (after a girl was injured in a restraint) and
2015 (after staff, on two occasions, injured students while
holding them in restraints. The Provo facility was also in
violation for having a seclusion room with a lock on it).

39 Between 2015 and 2020 Utah’s Office of Licensing

conducted 341 investigations at Provo’s four campuses,

substantiating twenty-seven violations.

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40. Between January 3, 2012, and September 16, 2019, police
responded to Provo’s Springville campus 239 times to reports that

included 43 assaults, 20 sex offenses, and a sexual assault.

4). Between May 16, 2012, and August 28, 2019, police
responded to Provo’s Provo campus 182 times to reports that
included 28 assaults, 26 sex offenses, 24 sexual assaults and, 11
abuse of child.

42. In October of 2020 a public protest was held outside
Provo led by Ms. Hilton, who had recently publicized the
pervasive physical, emotional and mental abuse she suffered
there.

43. In response, defendant Universal issued a statement
that it could not comment on operations and patient experiences
before its purchase of Provo. It further denied using solitary
confinement, mechanical restraints, seclusion, isolation and
medication as a form of discipline or use for sedation.

44, The Utah State Legislature subsequently held hearings
in February of 2021 regarding increased oversight for facilities
like Provo. Regarding her own experiences Ms. Hilton testified,
inte adie, that:

I was verbally, mentally and physically abused on a daily
basis. I was cut off from the outside world and stripped of
all of my human rights. I was not allowed to be myself,
hold my own opinions or even speak. Without a diagnosis I
was forced to consume medication that made me feel numb and

exhausted. I didn’t breathe fresh air or see the sunlight
for 11 months.

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Children were restrained, hit, thrown into walls, strangled
and sexually abused regularly at Provo. .. . I could not
report this because all communication with my family was
monitored and censored.

That was the worst of the worst. .. . There’s no getting

out of there. You’re sitting on a chair and staring at a
wall all day long, getting yelled at or getting hit.

I didn’t know what they were giving me. ... I would just

feel so tired and numb. Some people in that place were just
gone. The lights were on, but no one was home.

45. Following these hearings and for the first time in
fifteen years, Utah’s legislature enacted new laws regarding
these facilities, including placing limitations on the use of
restraints, drugs and isolation rooms and, increasing the number
of required inspections.

46. In sum, Provo has remained “in business” for 50 years
despite multiple lawsuits, a company bankruptcy, state threats to
pull its license and multiple public accounts of abuse spanning
decades from those subjected to its horrors.

47. As set forth below, Plaintiff Aaron Ross’ voice is now
added to the chorus of sorrow, pain and anguish that gone on for
far too long.

FACTUAL ALLEGATIONS

48. In May of 2001 Plaintiff was thirteen years of age

living with his parents in Mill Basin Brooklyn with a history of

Asperger’s syndrome, a neurodevelopment disability that affects

the ability to effectively interact and communicate with people.

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Due to a history of domestic behavioral problems centered around
his refusal to go to school due to bullying, his parents sought
the advice of The Goldberg Center, a consulting organization that
claimed to specialize “in helping children, teens, and young
adults who need to find an appropriate setting in order to have
their needs met.”

49. Without interviewing plaintiff, The Goldberg Center’s
founder and president, Leslie S. Goldberg, referred Provo to
Plaintiff’s parents and in the early morning hours of May 22,
2001, he was removed from his home without warning in handcuffs
by three armed guards.

50. Upon information and belief the Goldberg Center
received Ten Thousand ($10,000.00) Dollars from Provo for
referring the plaintiff to its facility, paying in essence a
bounty.

51. Plaintiff was taken to JFK airport and flown to Salt
Lake City Utah accompanied by two escorts and then transported to
Provo’s Orem Campus. It would be the last time Aaron Ross would
breathe fresh air or feel the sun on his skin for nearly two
years.

BA Upon his arrival Plaintiff was strip searched and

forced to wear a hospital gown. He was kept isolated for several

days and seen by a psychiatrist for no more than two minutes

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before being placed on a daily cocktail of drugs without
receiving a diagnosis or written plan of treatment.

53. These medications, which caused Plaintiff to remain in
a state of constant sedation, included Seroquel (ultimately
administered at nearly three times the maximum daily dose),
Depkotl, Trileptal and Celexa. Plaintiff was also subjected to
multiple forcible injections of Haldol, referred to as “booty
juice” by the staff and students, during which he was physically
tied down to a mattress.

54. During the course of his twenty-three months at Provo,
the final four months of which were at the Provo campus,
Plaintiff was subjected to undue punishment if not outright
brutality in no way related to the school’s educational program.
This included:

Being subjected to verbal, mental and physical abuse on a daily
basis

* Being disciplined for not folding laundry properly, improperly
making his bed, not standing properly in line, talking, looking
around, or taking too long in the shower

* Prolonged food and sleep deprivation for days at a time

Spending days or weeks in a row sitting at a desk facing the
wall except for bathroom breaks and sleeping

* Having his mail monitored, censored and destroyed
* Having his phone calls monitored by Turnbow so he could not
have a private conversation with his parents, who would

interrupt or abruptly end their talk if she disagreed with
anything he said

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* Spending nearly two years locked indoors without being let
outside to breathe fresh air or feel the sunlight

55. Due to the combined effects of the medications he was
forced to ingest daily, plaintiff would be penalized by moving
around even when directed not to so as to avoid falling asleep at
his desk or not completing academic assignments, incurring
additional penalties.

56. Due to these continued infractions Plaintiff would be
placed for days and sometimes weeks at a time in what was known
as the “observation room,” a small bare windowless cement room
bereft of any furniture or carpeting for the floor. He would
only be allowed out to use the bathroom and at times slept on a
mattress that was brought to the room for his use overnight.

57. It was during the overnight shift of these
confinements, which occurred nearly a dozen times, that Plaintiff
was forced to undress at the direction of the defendant, Uale,
who was the shift supervisor.

BBs Uale would then pull his pants down, sit in a chair
that he brought into the room and direct Plaintiff to give him
oral sex. Although most of the times Uale would ejaculate onto
Plaintiff’s hands he also ejaculated into his mouth, forcing
Plaintiff to spit out his seamen and pubic hairs.

59. If Plaintiff resisted defendant Uale’s orders he would
be deprived by Uale of food and forced to stay awake all night

until he submitted to his depraved demands.

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60. Such conduct was done for Uale’s sexual gratification
and was performed by Plaintiff under duress and without his free
consent, as Plaintiff was a mere minor and thus unable to give
valid, legal consent to such sexual acts, which were criminal in
nature.

Gls As a student at Provo, where Uale was employed and
worked, Plaintiff was under Uale’s direct supervision, care and
control, thus creating a special relationship, fiduciary
relationship, and/or special care relationship with defendants
Universal and Provo. Moreover, as a minor child under the
custody, care and control of defendants Universal and Provo, said
Defendants stood in loco parentis with respect to Plaintiff while
he was residing at Provo. As the responsible parties and/or
employers controlling Uale, Defendants were also in a special
relationship with Plaintiff, and owed special duties to
PIAINtCIfe.

62. Plaintiff complained to his therapist, Turnbow, about
Uale’s abuse, who called him a “liar,” told him to “shut up” and
wrote him up for punitive infractions for even bringing it up.

63. Plaintiff also complained to a supervisor, the
defendant, Hall, who also ignored his complaints.

64. Plaintiff was finally released from Provo on April 23,
2003, and returned home to Brooklyn, New York, where he began to

experience multiple mental, emotional and psychological problems

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due to the sexual and physical abuse he endured and which he had
not previously suffered from prior to being placed at Provo.

65 Plaintiff was subsequently diagnosed with Post
Traumatic Stress Disorder and hospitalized at Bellevue Hospital
Center for six months due to the trauma and extreme emotional
distress he suffered.

66. That by reason of Defendants’ tortious acts, omissions,
wrongful conduct and/or breach of their duties, whether willful
or negligent, Plaintiff's employment and personal development was
and will continue to be adversely affected. Plaintiff has lost
and will continue to lose wages as a result of the abuse he
suffered at the hands of Defendants, in an amount to be
determined at trial. Plaintiff has suffered economic injury, all
to Plaintiff’s general, special and consequential damage in an
amount to be proven at trial, but in no event less than the
minimum jurisdictional amount of this Court.

GT. As set forth herein Defendants Universal and Provo
failed to uphold numerous mandatory duties imposed upon them by
state and federal law, and by written policies and procedures
applicable to them including, inter alia, a duty to enact
policies and procedures that were not in contravention of the
Federal Civil Rights Act, section 1983, the 1§* and the 14t

Amendments of the United States Constitution.

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68. Compulsory education laws create a special relationship
between students and Defendants Universal and Provo, and students
have a constitutional guarantee to a safe, secure and peaceful
school environment. Defendants Universal and Provo failed to
acknowledge unsafe conditions, and therefore failed to guarantee
safe surroundings in an environment in which Plaintiff was not
free to leave, specifically including but not limited to allowing
Uale to take Plaintiff for purposes of sexual activity and
allowing Uale to operate isolated environments, incapable of
monitoring from the cutside, wherein Vale sexually harassed and
abused Plaintiff.

69. Defendants Universal and Provo had and have a duty to
protect students, including Plaintiff. Said Defendants were
required, and failed, to provide adequate campus supervision, and
failed to be properly vigilant in seeing that supervision was
sufficient to ensure the safety of Plaintiff.

1 Ov Defendants Universal and Provo lodged with Uale the
color of authority, by which he was able to influence, direct and
abuse Plaintiff, and to act illegally, unreasonably and without
respect for the person and safety of Plaintiff.

71. Defendants Universal and Provo had a duty to and failed
to adequately train and supervise all advisors, teachers, mentors
and staff to create a positive, safe, spiritual and educational

environment, specifically including training to perceive, report

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and stop inappropriate conduct by other members of the staff,
specifically including Uale, with children.
Biden In subjecting Plaintiff to the wrongful treatment

herein described, Uale acted willfully and maliciously with the
intent to harm Plaintiff, and in conscious disregard of
Plaintiff’s rights, so as to constitute malice and/or oppression.
Plaintiff is therefore entitled to the recovery of punitive

damages.

AS AND FOR A FIRST CAUSE OF ACTION FOR THE
VIOLATION OF 42 U.S.C. SECTION 1983

73. Plaintiff repeats, reiterates and realleges each and
every allegation set forth in paragraphs “1” through “72” of this
complaint with the same force and effect as if set forth at
length herein.

74. That as a result of the illegal and improper acts set
forth above, all of which were done intentionally and with
deliberate and undue callous disregard of Plaintiff’s rights,
Ross was deprived of his Constitutional Rights secured under the
1st and 14t Amendments of The Constitution of the United States

and 42 U.S.C. Section 1983.

72. Ross was deprived of a protected liberty interest

without due process of law due to, inter alia, the deprivation of

his life and liberty.

76. Defendants intended to violate Ross’ constitutional

rights, knew their actions were arbitrary, capricious, violated

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the Plaintiff’s rights and/or acted with reckless disregard for
whether their actions violated Ross’ rights and, were otherwise
illegal.

77. Ross has suffered, continues to suffer and will in the
future suffer economic loss due to Defendants’ impermissible
comduct .

78. Ross has suffered, continues to suffer and will in the
future suffer emotional distress and damage due to Defendants’
impermissible conduct.

79. Pursuant to 42 U.S.C. Section 1983 Defendants, in their
individual capacity are jointly and severally liable to the
Plaintiff for the financial losses he has and will suffer as well
as compensatory damages for the emotional harm Ross has suffered.

BO. Since Defendants acted intentionally and in a wanton
and reckless disregard of Ross’ constitutional rights, he is
entitled to punitive damages against Defendants jointly and
severally.

81. Ross is entitled to reasonable attorneys’ fees, costs
and disbursements incurred in the prosecution of this action.

eek. WHEREFORE, Plaintiff prays for judgment as set forth

below.

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AS AND FOR A SECOND CAUSE OF ACTION FOR
ASSAULT
(AGAINST ALL DEFENDANTS)

83. Plaintiff repeats, reiterates and realleges eaach and
every allegation set forth in paragraphs “1” through “82” of
this complaint with the same force and effect as if set forth
at length herein.

84. That as set forth above Defendants made unwarranted
threats of violence against the Plaintiff.

85. These threats were made with the intent to provoke
observation of the threat.

86. These threats caused a reasonable observation of
immediate danger and imminent harm.

87. That Defendants had the capacity to bring about the
violence at the time of the treats made and/or Plaintiff
reasonably believed that they were actually capable of doing
SO.

868. That a reasonable person in Plaintiff's
circumstances would have been apprehensive.

89. That there exists a causal connection between

Defendants’ unlawful conduct and Ross’ emotional distress.
90. WHEREFORE, Plaintiff prays for judgment as set forth

below.

APB.
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AS AND FOR A THIRD CAUSE OF ACTION FOR
BATTERY
(AGAINST ALL DEFENDANTS)

91. Plaintiff repeats, reiterates and realleges each and
every allegation set forth in paragraphs “1” through “90” of this
complaint with the same force and effect as if set forth at
length herein.

92. That as set forth above Plaintiff was touched in an
offensive manner and was aware of the contact at the time it
actually occurred.

93. That Plaintiff was battered by both contact that caused
physical harm and nonconsensual contact that did not cause
physical harm.

Od. That the contacts set forth above and Defendants’
conduct in furtherance of same was intentional and not an
accident.

oS. That there exists a causal connection between
Defendants’ unlawful conduct and Klein’s emotional distress.

96. WHEREFORE, Plaintiff prays for judgment as set forth
below.

AS AND FOR A FOURTH CAUSE OF ACTION FOR

FALSE IMPRISONMENT
(AGAINST ALL DEFENDANTS)

97. Plaintiff repeats, reiterates and realleges each and

every allegation set forth in paragraphs “1” through “96” of this

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complaint with the same force and effect as if set forth at
length herein.

98. That as set forth above Defendants intended to confine
Plaintiff.

99. That Plaintiff was conscious of the confinement.

100. That Plaintiff did not consent to the confinement.

101. That the confinement was not otherwise privileged.

102. That there exists a causal connection between
Defendants’ unlawful conduct and Ross’ emotional distress.

103. WHEREFORE, Plaintiff prays for judgment as set
forth below.

AS AND FOR A FIFTH CAUSE OF ACTION FOR
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(AGAINST ALL DEFENDANTS)

104. Plaintbitti repeats, reiterates and realleges each
and every allegation set forth in paragraphs “1” through “103”
of this complaint with the same force and effect as if set
forth at length herein.

105. The Defendants’ deliberate and malicious

indifference to their obligations as set forth above was
extreme, outrageous and beyond the reasonable bounds of

decency tolerated by decent society.

106. That Defendants intended to cause and/or
disregarded a substantial probability of causing severe

emotional distress and, because of the reprehensible and

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outrageous nature of their acts, Ross is entitled to, and
should be awarded, punitive damages against each of the
Defendants.

107. That there exists a causal connection between
Defendants’ unlawful conduct and Ross’ emotional distress and
damage.

108. WHEREFORE, Plaintiff prays for judgment as set
forth below.

AS AND FOR A SIXTH CAUSE OF ACTION FOR
LOSS OF PARENTAL CONSORTIUM
(AGAINST ALL DEFENDANTS)

109. Plaintiff repeats, reiterates and realleges each and
every allegation set forth in paragraphs “1” through “108” of
this Complaint with the same force and effect as if set forth at
length herein.

110. That due to Defendants’ conduct as set forth above
Plaintiff was deprived of the love, affection and guidance of his
parents.

111. That there exists a causal connection between
Defendants’ unlawful conduct and Ross’ emotional distress.

AB WHEREFORE, Plaintiff prays for judgment as set

forth below.

AS AND FOR A SEVENTH CAUSE OF ACTION FOR
NEGLIGENCE
(AGAINST ALL DEFENDANTS)

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113. Plaintiff repeats, reiterates and realleges each and
every allegation set forth in paragraphs “1” through “112” of
this Complaint with the same force and effect as if set forth at
length herein.

114. That defendants Universal and Provo negligently

hired and/or retained defendant employee Uale with knowledge of
his propensity for the type of behavior that resulted in

Plaintiff’s injuries in this action.

115. That defendants Universal and Provo negligently
placed the defendant Uale in a position to cause foreseeable
harm, which most probably would not have occurred had defendants
Universal and Provo taken reasonable care in the hiring of

employees.

116. That defendants Universal and Provo negligently hired
and/or retained defendant Uale, negligently placed defendant
employee Uale in a position to cause foreseeable harm, which
Plaintiff would not have been subjected to had defendants
Universal and Provo taken reasonable care in supervising or

retaining the defendant, Uale.

117. That defendants Universal and Provo knew or should
have known of defendant Uale’s propensity for the conduct that

caused Plaintiti’s injuries.

118. That defendants Universal and Provo negligently

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failed to properly train and/or supervise the defendant, Uale.

119. That as a result of the foregoing Plaintiff was

seriously and permanently injured.

120. That said occurrence and the resulting injuries to
Plaintiff were caused solely and wholly by reason of the
negligence and careless of defendants Universal and Provo in the
operation, management, maintenance, control, security and

supervision of Provo and employees within Provo.

izi. That as a result of the foregoing, Plaintiff was
injured solely and wholly as a result of the negligence,
carelessness and recklessness of the defendants Universal, Provo
and Uale and/or each of them, without any negligence on the part

of the Plaintiff contributing thereto.

122. That upon information and belief prior to the first
incident of Uale’s sexual harassment and abuse of Plaintiff,
Defendants Universal and Provo knew or should have reasonably
known that Uale had or was capable of sexually and/or mentally

abusing the Plaintiff.
123. Defendants Universal and Provo had special duties to
protect the minor Plaintiff, who was entrusted to their care by
his parents. Plaintiff’s care, welfare and/or physical custody

was entrusted to Defendants Universal and Prove. Said Defendants

voluntarily accepted the entrusted care of Plaintiff. As such

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Defendants owed Plaintiff, a minor child, a special duty of care,
in addition to a duty of ordinary care, and owed Plaintiff the
higher duty of care that adults dealing with children owe to
protect them from harm.

124. That upon information and belief Defendants Universal
and Provo breached their duties of care to the minor Plaintiff by
allowing Uale to come into contact with the minor Plaintiff,
without supervision; by failing to adequately hire, supervise
and/or retain Uale, who they permitted and enabled to have access
to Plaintiff; by failing to investigate or otherwise confirm or
deny such facts about Uale; by failing to tell or concealing from
Plaintiff, his parents, guardians and law enforcement officials
that Uale was or may have been sexually harassing and abusing
minors; by failing to tell or concealing from Plaintiff’s parents
That as set forth above Defendants engaged in multiple over acts
in furtherance of their unlawful agreement.

L2ZB. That due to Defendants’ conduct as set forth above
Plaintiff was deprived of the love, affection and guidance of his
parents.

126. That there exists a causal connection between
Defendants’ unlawful conduct and Ross’ emotional distress.

127. That as a result of the foregoing, Plaintiff was

injured solely and wholly as a result of the negligence,

carelessness and recklessness of the defendants Universal, Provo

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and Uale and/or each of them, without any negligence on the part

of the Plaintiff contributing thereto.

128. WHEREFORE, Plaintiff prays for judgment as set forth

below.
AS AND FOR A EIGHTH CAUSE OF ACTION FOR
CIVIL CONSPIRACY
(AGAINST ALL DEFENDANTS)
129. Plaintiff repeats, reiterates and realleges each and

every allegation set forth in paragraphs “1” through “128” of
this Complaint with the same force and effect as if set forth at
length herein.

130. That Plaintiff has alleged the cognizable torts set
forth above.

Lo din That there was an agreement between the Defendants
regarding these torts.

132. That as set forth above Defendants engaged in multiple
overt acts in furtherance of their unlawful agreement.

133.6 That due to Defendants’ conduct as set forth above
Plaintiff was deprived of the love, affection and guidance of his
parents.

134. That there exists a causal connection between

Defendants’ unlawful conduct and Ross’ emotional distress.

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135. WHEREFORE, Plaintiff prays for judgment as set
forth below.
PRAYER FOR RELIEF
On the First, Second, Third, Fourth, Fifth, Sixth, Seventh
and Eighth Claims for Relief:
1. For general damages according to proof at trial;
2. Punitive damages in an amount to be proven at trial;
3. Declaratory and Injunctive relief;
4. Attorneys’ fees, costs and disbursements of this action;
5. For such other legal and equitable relief as the Court
may deem Plaintiff is entitled to receive.
DEMAND FOR JURY TRIAL
Pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure Plaintiff demands a trial by jury in this action.

Dated: Mount Kisco, New York
August 6, 2021

Yours, etc.

LAW OFFICES OF DANIEL W. ISAACS, PLLC

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ANIEL W. ¥SAACS, ESO.
Attorneys for Plaintiff

PETER J. GLEASON

  
      

 
    

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Attorneys for Plaintiff

 

   
   

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